     Case 2:12-cv-09827-DSF-AGR Document 30 Filed 01/22/14 Page 1 of 2 Page ID #:358




1
      Todd M. Friedman (216752)
      Law Offices of Todd M. Friedman, P.C.
2     369 S. Doheny Dr. #415
      Beverly Hills, CA 90211
3
      Phone: 877 206-4741
4     Fax: 866 633-0228
      tfriedman@attorneysforconsumers.com
5
      Attorney for Plaintiff
6
                       UNITED STATES DISTRICT COURT
7
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
8

9     LOIST BENNETT,                 ) Case No. 2:12-CV-09827-DSF-AGR
                                     )
10
      Plaintiff,                     ) JOINT REQUEST TO DISMISS
11                                   ) WITH PREJUDICE
             vs.                     )
12
                                     )
13    PORTFOLIO RECOVERY             )
14
      ASSOCIATES, LLC,               )
                                     )
15    Defendant.                     )
16                                   )
             NOW COME THE PARTIES by and through their attorneys to respectfully
17

18    move this Honorable Court to dismiss with prejudice this matter pursuant to Federal
19
      Rules of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own costs and
20
      fees. A proposed order has been concurrently submitted to this Court via email.
21

22                       Respectfully submitted this 22nd day of January, 2014
23
                                          By: s/Todd M. Friedman
24                                            Law Offices of Todd M. Friedman, P.C.
25                                            Attorney for Plaintiff
26
                                          By: s/Lindsey A. Morgan, Esq.
27                                            Simmonds & Narita LLP
28
                                              Attorney for Defendant



                                        Stipulation to Dismiss- 1
     Case 2:12-cv-09827-DSF-AGR Document 30 Filed 01/22/14 Page 2 of 2 Page ID #:359




1
      Filed electronically on this 22nd day of January, 2014, with:

2     United States District Court CM/ECF system
3
      Notification sent electronically via the Court’s ECF system to:
4

5     Lindsey Morgan
6
      SIMMONDS & NARITA
      44 Montgomery St.
7     Suite 3010
8     San Francisco CA 94104-4816
9
      This 22nd day of January, 2014.
10
      s/Todd M. Friedman
11
      Todd M. Friedman
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                        Stipulation to Dismiss- 2
